Use Tab key1:21-cr-00142-CJN
      Case  to move from fieldDocument
                               to field on45this  form.
                                               Filed 10/25/22 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 21-cr-0142 (CJN)


Samuel J. Fisher
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER



                                                                 (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Jonathan Jeffress                          (479074)
                                                        (Attorney & Bar ID Number)
                                          KaiserDillon, PLLC
                                                                (Firm Name)
                                          1099 14th St. NW, 8th Floor West
                                                               (Street Address)

                                          Washington             DC               20005
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                                          (202) 640-4430
                                                           (Telephone Number)
